         Case 1:21-cr-00032-DLF Document 100 Filed 02/08/22 Page 1 of 4




             United States District Court for the District of Columbia

United States of America                   *

        v.                                 *               No. 1:21-CR-00032-DLF-1

Guy Wesley Reffitt                         *


     Response to Court’s Proposed Changes to Government’s Proposed Jury
                       Instruction Regarding Count Two

        While Mr. Reffitt maintains his objection and opposition to the government’s

proposed jury instruction regarding Count Two for the reasons stated previously

(Doc. 89), the Court has directed the parties to address the modifications that the

Court proposed to the instruction regarding Count Two proposed by the government.

Min. Ord. Feb. 3, 2021.


I.      The Instruction Should Include the “Nexus” Requirement.

        An act must have a relationship in time, causation, or logic with the

proceedings. United States v. Friske, 640 F.3d 1288, 1291 (11th Cir. 2011); see also

United States v. Phillips, 583 F.3d 1261, 1264 (10th Cir. 2009). Without knowledge

of the proceeding, a person could not know that his or her actions were likely to affect

it. Friske at 1292. Otherwise, a person lacks the requisite intent to obstruct. United

States v. Aguilar, 515 U.S. 593, 599, 115 S.Ct. 2357, 132 L.Ed.2d 520 (1995); see also

Arthur Andersen LLP v. United States, 544 U.S. 696, 707–708, 125 S.Ct. 2129, 161

L.Ed.2d 1008 (2005) (“[i]t is ... one thing to say that a proceeding need not be pending

or about to be instituted at the time of the offense, and quite another to say a

proceeding need not even be foreseen.”).
        Case 1:21-cr-00032-DLF Document 100 Filed 02/08/22 Page 2 of 4




II.   Objection to Definition of Corruptly.

      “Corruptly” requires the government to allege and prove that the defendant

committed an obstructive act with the intent to obtain an unlawful advantage for

himself or an associate, and that he influenced another to violate their legal duty.

United States v. Poindexter, 951 F.2d 369, 379 (D.C. Cir. 1991); United States v.

North, 910 F.2d 843, 882, 285 U.S. App. D.C. 343 (D.C. Cir. 1990) (a “corrupt” intent

means “the intent to obtain an improper advantage for oneself or someone else…”);

United States v. Reeves, 752 F.2d 995, 1001 (5th Cir. 1985) (“To interpret ‘corruptly’

[in obstruction statute] as meaning ‘with an improper motive or bad or evil purpose’

would raise the potential of overbreadth’ in this statute because of the chilling effect

on protected activities … Where ‘corruptly’ is taken to require an intent to secure an

unlawful advantage or benefit, the statute does not infringe on first amendment

guarantees and is not ‘overbroad.’”).


      Poindexter also stands for the unlawful-advantage standard and the transitive

corruption rule. 951 F.2d 369. Defendant proposes:

             To act corruptly means to act with an improper purpose and to
      engage in conduct knowingly and dishonestly and with the intent to
      obstruct, impede or influence the due administration of justice.
      “Corruptly” requires the government to prove beyond a reasonable doubt
      that the defendant committed an obstructive act with the intent to
      obtain an unlawful advantage for himself or an associate, and that he
      influenced another to violate their legal duty.

L. Sand, et al., Mod. Fed. Jury Instr.—Crim., Instr. 46-71, filed through Rel. 78B,

2021; Poindexter at 379.




                                           2
        Case 1:21-cr-00032-DLF Document 100 Filed 02/08/22 Page 3 of 4




III.   Deleting The      Government’s       Examples      of   Corrupt/Non-Corrupt
       Conduct.

       Defendant would not object.


IV.    Objection to Clarification that the Court Is Not Defining an Official
       Proceeding as a Joint Session of Congress.

       Defendant objects to the Court not defining whether certification of the

Electoral College Vote pursuant to the Electoral Count Act of 1887 and the

Constitution qualifies as an “Official Proceeding” for the purpose of Title 18, United

States Code, Section 1512(c)(2), because this is a legal question. It is the Court’s

function to rule on questions of law. Barbara E. Bergman, Crim. Jury Instr. for the

District of Columbia, Fifth Ed., Instr. No. 2.102, filed through Rel. No. 17, Sep. 2019

(the Red Book); see also, Specht v. Jensen, 853 F. 2d 805, 807 (10th Cir. 1988). The

judge alone “instruct[s] the jury on the relevant legal standards.”       Burkhart v.

Washington Metro. Area Transit Auth., 112 F. 3d 1207, 1213 (D.C. Cir. 1997).


       Defendant maintains that certification of the Electoral College Vote does not

qualify as an “Official Proceeding” for the purpose of Section 1512(c)(2), because

Congress’ role is ministerial, not adjudicative. Doc’s 38, 55 at 1–4, 58 at 8–13.




                                           3
       Case 1:21-cr-00032-DLF Document 100 Filed 02/08/22 Page 4 of 4




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                             Certificate of Service

      I hereby certify that on this 8th day of January 2022, a copy of the foregoing

Response to Court’s Proposed Changes to Government’s Proposed Jury Instruction

Regarding Count Two was delivered electronically to Mr. Jeffrey S. Nestler

(jeffrey.nestler@usdoj.gov) and Ms. Risa Berkower (risa.berkower@usdoj.gov), Office

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                                         /s/ William         L. Welch, III
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                                         4
